Case 2:17-cv-06400-RGK-SS       Document 73 Filed 07/02/19    Page 1 of 1 Page ID
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                    UNITED STATES COURT OF APPEALS                     FILED
                           FOR THE NINTH CIRCUIT                        JUL 2 2019
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
NEMAN BROTHERS AND ASSOC., INC., No. 17-56876
a California corporation,
                                     D.C. No.
                Plaintiff-Appellant, 2:17-cv-06400-RGK-SS
                                     Central District of California,
  v.                                 Los Angeles

ONE STEP UP, LTD., a New York                  ORDER
corporation; et al.,

                Defendants-Appellees.

Before: WARDLAW and BENNETT, Circuit Judges, and SESSIONS,* District
Judge.

      Appellees’ motion for an award of attorneys’ fees on appeal [Dkt. 48] is

GRANTED. The determination of an appropriate amount of fees on appeal is

referred to the Appellate Commissioner, who shall conduct whatever proceedings

he deems proper, and who shall have authority to enter an order awarding fees.

See 9th Cir. R. 39-1.9. The Appellate Commissioner’s order is subject to

reconsideration by the panel.




      *
              The Honorable William K. Sessions III, United States District Judge
for the District of Vermont, sitting by designation.
